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                               UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
10                                        WESTERN DIVISION
11

12
       DAVID DOYLE,                                            Case No.: 2:19-cv-09781-DDP
13                                                              JUDGMENT
14                     Plaintiff,
15
               vs.

16
       SHORE FUNDING SOLUTIONS INC., a
17     New York Corporation.
18
                       Defendants.
19
                                                               Hon. DEAN D. PREGERSON
20
                                                               Hearing Date: May 11, 2020
21                                                             Hearing Time: 10:00 a.m.
22

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      ________________________________________________________________________________________________________

                                            [proposed] JUDGMENT
     Case 2:19-cv-09781-DDP-JPR Document 17 Filed 07/09/20 Page 2 of 2 Page ID #:49



                                                 JUDGMENT
1

2
             The Court hereby ORDERS, ADJUDICATES and DECREES that final
3

4     judgment is for Plaintiff DAVID DOYLE against Defendants SHORE FUNDING
5
      SOLUTIONS INC. jointly and severally.
6

7            Defendants SHORE FUNDING SOLUTIONS INC. jointly and severally,
8
      must pay Plaintiff PAUL SAPAN the sum of One-Hundred Fifty Three Thousand,
9

10
      Four Hundred Fifty Five and zero cents ($153,455.00).
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12
              IT IS SO ORDERED, ADJUDICATED AND DECREED.
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      DATED: July 9, 2020
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                                                                            Hon. DEAN D. PREGERSON
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      ________________________________________________________________________________________________________

                                               JUDGMENT
